 Case 2:92-cr-81127-DML ECF No. 1934, PageID.344 Filed 05/25/05 Page 1 of 3




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


GREGORY BROWN,

       Petitioner,

vs.
                                                          Crim. Case No. 92-CR-81127-40
UNITED STATES OF AMERICA,
                                                                      HON. AVERN COHN
     Respondent.
_______________________________/

  ORDER CONSTRUING PETITIONER’S PETITION FOR INDEPENDENT ACTION
                 PURSUANT TO FED. R. CIV. P. 60(b)
            AS A SECOND MOTION UNDER 28 U.S.C. § 2255
                              AND
   TRANSFERRING CASE TO COURT OF APPEALS FOR THE SIXTH CIRCUIT

                                              I.

       This is a criminal case. It has a long procedural history complicated by

Petitioner’s numerous filings. In 1995, Petitioner was convicted by a jury of (1)

conspiracy to posses with intent to distribute cocaine, in violation of 21 U.S.C. § 846

and § 841(a)(1), (2) intentional killing, aiding and abetting, in furtherance of a continuing

criminal enterprise (CCE), in violation of 21. U.S.C. § 848(e)(1)(A), and 18 U.S.C. § 2,

and (3) using or carrying a firearm in relation to a drug offense, in violation of 18 U.S.C.

§ 924(c). Petitioner was sentenced to life imprisonment. Petitioner filed a direct appeal

with the Court of Appeals for the Sixth Circuit, challenging his conviction and sentence

on several grounds. The Sixth Circuit affirmed his conviction and sentence. United

States v. Brown, No. 97-1618, 2000 WL 876382 (June 20, 2000) (unpublished). The

United States Supreme Court denied certiorari. Brown v. United States, No. 00-7007
 Case 2:92-cr-81127-DML ECF No. 1934, PageID.345 Filed 05/25/05 Page 2 of 3




(Dec. 11, 2000).

       Petitioner then filed a motion under 28 U.S.C. § 2255, claiming ineffective

assistance of counsel, that his CCE conviction was unconstitutional, and various

deficiencies in the indictment. The Court denied the motion. See Memorandum and

Order filed April 26, 2002. The Court also denied a certificate of appealability. See

Order filed May 14, 2002. Petitioner then filed a motion under Fed. R. Civ. P. 59(e), and

a motion for independent action which were denied. See Orders filed October 31, 2002

and October 20, 2003. The Court denied a certificate of appeability with respect to

Petitioner’s motion for independent action. See Order filed March 9, 2004. The appeal

is now pending in the Sixth Circuit.

                                               II.

       Now before the Court is Petitioner’s paper styled “Independent Action Pursuant

to Rule 60(b) In Light of Crawford v. Washington, ...” As best as can be gleaned from

the papers, Petitioner seeks relief from the Court’s evidentiary ruling at trial on the

grounds that it violates the Supreme Court’s decision in Crawford v. Washington, 541

U.S. 31 (2004), issued years after Petitioner’s trial.

       In Abdur’Rahman v. Bell, 342 F.3d 174 (6th Cir. 2004), the Court of Appeals for

the Sixth Circuit held that “a Rule 60(b) motion should be treated as a second or

successive habeas petition only if the factual predicate in support of the motion

constitutes a direct challenge to the constitutionality of the underlying conviction.”

       Here, it is clear that Petitioner is directly challenging the constitutionality of his

conviction in that he argues that his constitutional rights were violated when the Court

made an evidentiary ruling which he claims is now contrary to a Supreme Court

decision. In such a circumstance, Petitioner’s motion is properly construed as a motion



                                               2
 Case 2:92-cr-81127-DML ECF No. 1934, PageID.346 Filed 05/25/05 Page 3 of 3




under § 2255.

                                            III.

       Under the Antiterrorism and Effective Death Penalty Act of 1996 (AEDPA),

before a successive motion to vacate sentence is filed in a federal district court, a

Petitioner must first file a motion with the appropriate court of appeals requesting

permission to file a second or successive motion to vacate sentence. 28 U.S.C. §

2244(b)(3); see also In Re Hanserd, 123 F.3d 922, 934 (6th Cir. 1997). Where, as here,

a successive motion to vacate sentence is erroneously filed with the district court, the

district court is required to transfer the motion to the court of appeals under 28 U.S.C. §

1631. Id. (citing In Re Sims, 111 F.3d 45, 47 (6th Cir. 1997)). Under the AEDPA, a

district court does not have jurisdiction to entertain a successive post-conviction motion

or petition for writ of habeas corpus in the absence of an order from the court of appeals

authorizing the filing of such a successive motion or petition. Ferrazza v. Tessmer, 36

F. Supp. 2d 965, 971 (E.D. Mich. 1999).

       Accordingly, the Court transfers this matter to the Sixth Circuit Court of Appeals

under 28 U.S.C. § 1631 for a determination of whether Petitioner is entitled to a

certificate of authorization to file a successive motion to vacate sentence under 28

U.S.C. § 2255.

       SO ORDERED.

                                          s/Avern Cohn
Dated: May 25, 2005                       AVERN COHN
                                          UNITED STATES DISTRICT JUDGE

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, May 25, 2005, by electronic and/or ordinary mail.


                                           s/Julie Owens
                                          Case Manager, (313) 234-5160


                                             3
